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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                                Case No. 11-40044-14-RDR

AGUSTIN RAMIREZ-VILLA,

                 Defendant.


                                O R D E R

     This case is before the court upon defendant’s pro se motion

to dismiss for lack of territorial jurisdiction.              Doc. No. 109.

Defendant is charged with conspiracy to distribute methamphetamine.

His motion argues that the court does not have authority to hear

this case because the federal government’s authority in these

matters is limited to land acquired by the federal government or

where jurisdiction has been ceded by the states to the federal

government.

     The court rejects this argument. In general, the authority of

this court to hear cases charging a violation of the federal drug

laws is well-established, even when the drug law violation involves

purely local activity.        See Gonzales v. Raich, 545 U.S. 1, 15

(2005); see also, 18 U.S.C. § 3231 (“The district courts of the

United States shall have original jurisdiction . . . of all

offenses against the laws of the United States.”).             In addition,

Article I, Section 8 of the United States Constitution grants to
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Congress the power to create, define and punish crimes irrespective

of where they are committed.      U.S. v. Mundt, 29 F.3d 233, 237 (6th

Cir. 1994); U.S. v. Collins, 920 F.2d 619, 629 (10th Cir. 1990)

cert. denied, 500 U.S. 920 (1991).           A similar challenge to the

court’s “territorial jurisdiction” was specifically rejected by the

Tenth Circuit in U.S v. Lampley, 127 F.3d 1231, 1245-46 (10th Cir.

1997) cert. denied, 522 U.S. 1137 (1998) where the court stated:

     Defendants . . . challenge . . . the original
     jurisdiction of the federal district court to prosecute
     crimes committed within the States.      Their principal
     argument is that the States are sovereign and the federal
     government is not authorized to prosecute crimes
     committed within their borders. The Supremacy Clause,
     the Civil War, the decisions of the Supreme Court, and
     acts of Congress make it clear that so long as there is
     a constitutionally authorized federal nexus, the federal
     government is free to act anywhere within the United
     States.

See also, U.S. v. Deering, 179 F.3d 592, 597 (8th Cir.) cert.

denied, 528 U.S. 945 (1999); U.S. v. D’Armond, 65 F.Supp.2d 1189,

1197-98 (D.Kan. 1999).

     Finally, the court instructs defendant that he should file

motions through his court-appointed counsel. His counsel should be

his representative before the court.            He is not entitled to

represent himself and to have court-appointed counsel. See U.S. v.

McKinley, 58 F.3d 1475, 1480 (10th Cir. 1995) (no right to a “hybrid

form of representation”).       In the future, the court may reject

motions filed by defendant if they are not presented by defendant’s

appointed counsel.


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     In conclusion, defendant’s pro se motion to dismiss for lack

of territorial jurisdiction shall be denied.

     IT IS SO ORDERED.

     Dated this 25th day of August, 2011 at Topeka, Kansas.


                                 s/Richard D. Rogers
                                 United States District Judge




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